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                                  IN THE UNITED STATES DISTRICT COURT

                                    FOR THE EASTERN DISTRICT OF TEXAS

                                                      TYLER DIVISION

 UNITED STATES OF AMERICA                                         §

 Vs.                                                              §   CRIMINAL ACTION NO. 6:09CR18

 ERIC FERNANDO REYES                                              §

                                     REPORT AND RECOMMENDATION
                                  OF UNITED STATES MAGISTRATE JUDGE


           On July 15, 2009, the Court referred ancillary forfeiture proceedings in the above-styled case

 to the undersigned. Specifically, the Court referred: (1) D-1 CAPITAL, LP’S Petition Claiming

 an Interest in Property (document #136); (2) John Ealba’s Petition Claiming Interest in Property

 (document #170); (3) Erika Reyes’s Petition Claiming Interest in Property (document #171); (4)

 Erika Reyes’s Petition Claiming Interest in Property (document #172); (5) Brenda Griego’s Petition

 Claiming Interest in Property (document #173); (6) Evangelina Serrato’s Petition Claiming Interest

 in Property (document #174); and (7) Victor Dominguez’s Petition Claiming Interest in Property

 (document #175).

           These ancillary forfeiture proceedings were referred to the undersigned for a hearing and

 proposed findings of fact and recommendations as to their disposition. On October 27, 2009, the

 Government filed a Motion to Dismiss Petition of Brenda Griego (document #221). In her Petition

 Claiming Interest in Propery, Brenda Griego claims an ownership interest in a 1987 Monte Carlo.

 In its motion to dismiss, the Government asserts that Brenda Griego does not hold title to the 1987

 Monte Carlo. To date, no response has been filed by Brenda Griego.


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           Pursuant to an Order entered on September 9, 2009, this matter was set for a hearing to be

 conducted on December 17, 2009 concerning the above-referenced ancillary forfeiture proceedings,

 including the claim filed by Brenda Griego. The Court received an acknowledgment of receipt card

 on October 14, 2009 revealing that the Order was delivered to Brenda Griego’s last known address

 on October 9, 2009.

           A third-party seeking amendment of a forfeiture order must show by a preponderance of the

 evidence:

           (A)       the petitioner has a legal right, title, or interest in the property, and such right,
                     title or interest renders the order of forfeiture invalid in whole or in part
                     because the right, title, or interest was vested in the petitioner rather than the
                     defendant or was superior to any right, title, or interest of the defendant at the
                     time of the commission of the acts which gave rise to the forfeiture of the
                     property under this section; or

           (B)       the petitioner is a bona fide purchaser for value of the right, title, or interest
                     in the property and was at the time of purchase reasonably without cause to
                     believe that the property was subject to forfeiture under this section.

 21 U.S.C. § 853(n)(6). In this case, Brenda Griego has not shown that she has a legal right, title or

 interest in the property at issue. Rather, the Government has shown that Brenda Griego is not the

 registered owner of the subject vehicle. Brenda Griego did not respond to the motion to dismiss and

 did not appear for the hearing concerning this matter. Accordingly, the petition filed by Brenda

 Griego should be dismissed.

                                                       Recommendation

           It is recommended that the Government’s Motion to Dismiss Petition of Brenda Griego

 (document #221) be granted and that the petition of Brenda Griego filed in response to the

 Preliminary Order of Forfeiture involving a 1987 Purple Chevrolet Monte Carlo Custom, VIN



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 1G1GZ11Z8HP141336, License Plate LWC222 be dismissed.

           Within fourteen days after receipt of the magistrate judge's report, any party may serve and

 file written objections to the findings and recommendations of the magistrate judge.

           A party’s failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after service shall bar that party from de novo review by the

 district judge of those findings, conclusions and recommendations and, except upon grounds of plain

 error, from attacking on appeal the unobjected-to proposed factual findings and legal conclusions

 accepted and adopted by the district court. Douglass v. United Services Auto. Assn., 79 F.3d 1415,

 1430 (5th Cir. 1996) (en banc).

                So ORDERED and SIGNED this 21 day of December, 2009.



                                                                  ____________________________
                                                                  JUDITH K. GUTHRIE
                                                                  UNITED STATES MAGISTRATE JUDGE




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